                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION

                                         CIVIL NO. 1:04CV46
                                       (1:01CR45 & 3:01CR11-3)


PHILIP B. GREER,                               )
                                               )
                         Petitioner,           )
                                               )
               Vs.                             )      MEMORANDUM AND ORDER
                                               )
UNITED STATES OF AMERICA,                      )
                                               )
                         Respondent.           )
                                               )


       THIS MATTER is before the Court on the Petitioner's motion, including exhibits

attached thereto, to vacate, set aside or correct his sentence pursuant to 28 U.S.C. § 2255. No

response is necessary from the Government.

       A prisoner in federal custody may attack his conviction and sentence on the grounds that

it is in violation of the Constitution or United States law, was imposed without jurisdiction,

exceeds the maximum penalty, or is otherwise subject to collateral attack. 28 U.S.C. § 2255.

However,

       [i]f it plainly appears from the face of the motion and any annexed exhibits and
       the prior proceedings in the case that the movant is not entitled to relief in the
       district court, the judge shall make an order for its summary dismissal and cause
       the movant to be notified.

Rule 4, Rules Governing Section 2255 Proceedings for the United States District Courts.

The Court, having reviewed the record of proceedings below, enters summary dismissal for the

reasons stated herein.




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                                 I. PROCEDURAL HISTORY

        On June 5, 2001, Petitioner entered into a plea agreement with the Government in which

he agreed to plead guilty to six counts of the superseding bill of indictment filed in case

3:01cr11-3 and to the one count bill of information filed in case 1:01cr45 all arising out of his

participation in a Ponzi scheme (Banyan International Limited) involving hundreds of victims,

millions of dollars, and in conspiracy with co-Defendants Phillip Mark Vaughan, Terry W.

Stewart, Howard T. Prince, III, Timothy B. Burnham, and others. All of the Defendants pled

guilty with the exception of Stewart, who was convicted after a jury trial in November 2001 and

sentenced by the undersigned to 2,100 months imprisonment. Specifically, the Petitioner agreed

to plead guilty to:

(1)     Count One, conspiracy to engage in mail, wire, bank and securities fraud and to sell
        unregistered securities in violation of 18 U.S.C. § 371;

(2)     Count Fourteen, a money laundering conspiracy to launder money by domestic
        transactions to promote the fraud scheme, engage in tax fraud or evasion, and concealing
        the proceeds therefrom, and international transfers to promote and conceal these frauds in
        violation of 18 U.S.C. § 1956(h);

(3)     Count Fifteen, the transfer of $648,574.29 in proceeds from a fraudulent BB&T loan to a
        Banyan controlled Pure Trust Organization [“PTO”] to promote the investor fraud
        scheme by making lulling payments;

(4)     Count Seventeen, the transfer of $250,000 from a Banyan PTO account to Banyan’s
        largest investor as a lulling payment in order to promote the fraud scheme;

(5)     Count Thirty-Two, the transfer of $150,000 in Banyan investor money which was used to
        facilitate the tax fraud and evasion; and

(6)     Count Thirty-Five, a $1,014,510 wire transfer in Banyan investor money to an offshore
        bank account to facilitate tax fraud and evasion and to promote the fraud scheme.




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See Second Superseding Bill of Indictment, filed May 10, 2001, in Criminal No. 3:01CR11;

Plea Agreement, filed June 5, 2001; Government’s Sentencing Memorandum, filed March

24, 2003, at 1-2. The Petitioner also agreed to plead guilty to a one-count bill of information

charging him with being a commodity pool operator who knowingly employed a scheme and

artifice to defraud a member of that pool in violation of 7 U.S.C. §§ 6o(1) and 13(a)(2).

       In the plea agreement, Petitioner was advised that he faced a maximum sentence of 110

years imprisonment along with fines, restitution and assessments. Plea Agreement, supra, at 1.

He also waived the right to contest his conviction or sentence on direct appeal or pursuant to 28

U.S.C. § 2255 on any grounds other than ineffective assistance of counsel or prosecutorial

misconduct. Id., at 5. He does not allege prosecutorial misconduct in his petition.

       On June 5, 2001, Petitioner attended a Rule 11 hearing and was advised, among other

things, of the maximum possible sentences and his waivers. Rule 11 Inquiry and Acceptance

of Plea, filed June 5, 2001. As is the custom in this Court, not only did the Petitioner answer

each question during the hearing, but he and his attorney signed the Rule 11 Inquiry which was

then filed of record. Id. In that Inquiry, Petitioner acknowledged that his written plea agreement,

which he also had signed, contained a provision waiving his right to appeal his conviction or

sentence or to contest it in any collateral proceeding, including a § 2255 petition, on any ground

other than ineffective assistance of counsel or prosecutorial misconduct. Id. Petitioner also

acknowledged that his guilty plea was knowing and voluntary, he was satisfied with the services

of his attorney, he understood the sentencing guidelines and how they applied to him, he had

been afforded sufficient time to discuss his case with his attorney, and he understood and agreed

with the terms of his plea agreement. Id. The Petitioner further advised the Court that he was



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pleading guilty because he was in fact guilty of the crimes contained in the indictments; that his

plea was voluntary “and not the result of coercion, threats or promises other than those contained

in the written plea agreement;” he acknowledged that if the sentence imposed was harsher than

expected, he was still bound by his guilty plea; that he knew and fully understood what he was

doing and wanted the Court to accept his plea of guilty; and that he

had no questions or comments to make about any matter discussed in the course of the

proceeding. Id.

       During the presentence investigation, the Petitioner disclosed to the probation officer that

he was in good health, that he had no history of mental or emotional problems, and reported no

use of or experimentation with illegal drugs. The Petitioner is well educated having received a

B.S. degree in 1982; he was a successful, self-employed businessman until his association with

Banyan International Ltd., and the co-Defendants therein. Presentence Investigation Report,

revised March 18, 2003, at 14-15.

       The maximum sentence for the counts to which the Petitioner pled guilty was a total of

110 years. Due in part to his attorney’s due diligence and tireless efforts on his behalf, the

undersigned sentenced the Petitioner on March 25, 2003, to a term of 120 months imprisonment.

The Petitioner did not file a direct appeal, but now attacks his conviction and sentence on the

grounds that he was a victim of ineffective assistance of counsel and that the Court failed to

protect his rights in a variety of ways.




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                                        II. DISCUSSION

       Petitioner lists an all too familiar litany of complaints, most of which are contradicted by

his own statements of record in his sworn plea agreement and Rule 11 inquiry as set forth above.

For example, he contends that he relied on false promises by his attorney as to what his sentence

range would be and the amount of restitution for which he would be responsible including

enhancements based on such amounts. In his plea agreement, the monetary amounts on which he

was sentenced are set forth. See, Plea Agreement, supra, at 1-2. Regarding the Petitioner’s

claim of defense counsel’s “promises” of a final sentence range, the plea agreement states:

       The defendant is further aware that the Court has not yet determined the sentence,
       that any estimate from any source, including defense counsel, of the likely
       sentence is a prediction rather than a promise, and that the Court has the final
       discretion to impose any sentence up to the statutory maximum.

Id., at 1 (emphasis added). Likewise, during the Rule 11 inquiry, the Petitioner acknowledged

his understanding that in the event his sentence was harsher than expected, he was still bound by

his guilty plea. Rule 11 Inquiry, supra, at 11.

       Petitioner next contends he did not have the required 35 days to review the presentence

report. The record reveals the report was initially prepared on February 27, 2003; it was revised

on March 18, 2003, after the receipt of a document from Petitioner’s attorney entitled,

“Responsibility and Accomplishments with Promissions: Projects Reaching Others,” outlining

Petitioner’s missionary efforts. No objections were filed either at the sentencing hearing or prior

thereto. Prior to the sentencing hearing, the Petitioner reviewed a copy of his presentence report

with his attorney. In an affidavit provided to the Court, his attorney avers that the Petitioner

understood the contents of the presentence report. See Affidavit of David Belser, filed August




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1, 2005. The Petitioner did not inform the Court at the time of sentencing that he had not

received the presentence report in a timely manner or that he had been denied an adequate

opportunity to review it contents. There is no reference to the 35-day disclosure rule in the

record; therefore, without more, the Court finds Petitioner’s claim to be supported by conclusory

allegations, at best. Thus, the Court concludes that the Petitioner fully understood the contents of

the presentence report. Further, Petitioner fails to demonstrate any resulting harm inasmuch as

the sentence imposed was in accordance with the plea agreement and reflected the Court’s

consideration and granting of the Government’s motion for downward departure.

       The Petitioner also alleges that he was not advised of his right to read the Special

Master’s Report and Recommendation; this report was compiled pursuant to a request from the

Court in an effort to determine the amount of restitution due the hundreds of victims involved in

the Banyan fraud scheme. The Special Master’s Report did not determine the amount of

restitution for sentencing purposes; that amount was set forth in the plea agreement which the

Petitioner and his attorney signed. However, a copy of each report by the Special Master was

sent to every defense attorney involved in the criminal cases; there is no response, objection, or

any other request regarding these reports filed by this Petitioner or his attorney or any other

Defendant or defense counsel.

       Petitioner next contends that he was not advised of his appeal rights. The record reveals

that the Court advised the Petitioner at his sentencing hearing that (1) he had a right to appeal the

judgment of the Court to the Fourth Circuit Court of Appeals on the grounds of ineffective

assistance of counsel and/or prosecutorial misconduct if either of those grounds existed; (2) that

if he chose to appeal, he must file a written notice of appeal with the Clerk of this Court within a



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period of 10 days after entry of the final judgment in his case; and (3) that if he chose to appeal

and did not have the funds with which to pursue the appeal, he could file an affidavit of

indigency and if approved by the Court, he would be allowed to appeal at Government expense.

The Court then inquired if the Petitioner understood his rights to appeal as the Court had

explained that right to him; he answered in the affirmative. Transcript of Sentencing Hearing,

at 12. Therefore, the Court finds that the Petitioner fully knew and understood his appeal rights

despite his present allegations to the contrary.

       The Petitioner also alleges he was not afforded the right of personal elocution at

sentencing. The record reveals he was indeed given that opportunity. Id., at 5.

       Petitioner also contends the victim loss amounts are inflated. However, in the plea

agreement, he and his attorney agreed that “the Court may accept the information in the

Presentence Investigation Report, except any fact to which the defendant files written objections,

as establishing sufficient factual findings regarding the amount of loss sustained by the victim[.]”

Plea Agreement, at 4. Petitioner did not file any objections to the presentence report.

       As a college graduate with years of business experience, it is difficult for the Court to

imagine that the Petitioner did not understand, agree with, and participate in every decision made

by his experienced attorney. It is even more difficult to understand the claims made throughout

his motion which are totally in contradiction to the written record in this case. For example,

during the Rule 11 inquiry, he stated under oath in answering the Magistrate Judge, that he was

“entirely satisfied” with the services of his attorney. Transcript of Rule 11 Proceedings, filed

March 17, 2003, at 12.




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       [T]he record reflects that the [Magistrate Judge] conducted a thorough and
       comprehensive Rule 11 hearing prior to accepting [Petitioner’s] guilty plea. In that
       proceeding, . . . [Petitioner] stated, among other things, that no one had coerced
       him into pleading guilty and he was in fact guilty of the [conspiracy] offense.
       [Petitioner] was advised of the essential terms of the plea agreement, and he
       asserted under oath that he understood them. The court reviewed the maximum
       permissible sentence on the [felony] conviction[s], and [Petitioner] acknowledged
       that he understood. The court also advised [Petitioner] of the constitutional rights
       being waived by his guilty plea, and he again indicated his understanding. In
       these circumstances, [Petitioner’s] conclusory post-[conviction] assertions that his
       plea was not knowing and voluntary . . . fail to overcome the barrier of the sworn
       statements made at his Rule 11 hearing.

United States v. Ubakanma, 215 F.3d 421, 424 (4th Cir. 2000). A defendant's statements at a

Rule 11 hearing are "strong evidence" of voluntariness and knowledge. United States v.

DeFusco, 949 F.2d 114, 119 (4th Cir. 1991).

       [R]epresentations of the defendant . . . at [a Rule 11 hearing], as well as any
       findings made by the judge accepting the plea, constitute a formidable barrier in
       any subsequent collateral proceedings. Solemn declarations in open court carry a
       strong presumption of verity. The subsequent presentation of conclusory
       allegations unsupported by specifics is subject to summary dismissal, as are
       contentions that in the face of the record are wholly incredible.

Blackledge v. Allison, 431 U.S. 63, 73-74 (1977) (emphasis added).

       Based on the Petitioner's plea agreement, his signature on the Rule 11 Inquiry, the advice

he received from the Court during the Rule 11 hearing, and his representations during that

hearing, the Court finds Petitioner knowingly and voluntarily entered into the plea agreement and

plead guilty to the counts of the indictments cited infra. DeFusco, supra. Thus, the Court also

finds the Petitioner made a knowing and voluntary waiver of the right to attack his conviction or

sentence by a collateral proceeding such as a § 2255 motion except as noted in his plea

agreement. See, United States v. Shea, 175 F.3d 1018 (table), 1999 WL 172810 (4th Cir.

1999); United States v. Pelzer, 166 F.3d 336 (table), 1998 WL 879019 (4th Cir. 1998) (citing



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United States v. Wessells, 936 F.2d 165, 167-68 (4th Cir. 1991)); United States v. Hoyle, 33

F.3d 415, 418 (4th Cir. 1994).

       Next, Petitioner claims his attorney, David Belser, was ineffective for the reasons

previously addressed and others considered by the Court to be meritless. In considering

Petitioner's claims that he has not received adequate assistance of counsel,

       [f]irst, the defendant must show that counsel's performance was deficient. This
       requires showing that counsel made errors so serious that counsel was not
       functioning as the "counsel" guaranteed the defendant by the Sixth Amendment.
       Second, the defendant must show that the deficient performance prejudiced the
       defense. This requires showing that counsel's errors were so serious as to deprive
       the defendant of a fair trial, a trial whose result is reliable.

Strickland v. Washington, 466 U.S. 668, 686 (1984). Unless a defendant makes both showings,

his claim of ineffective assistance of counsel must fail. Id. Thus, a defendant must show

counsel's performance fell below objective standards of reasonableness, and, that but for his

conduct, there was a reasonable probability the result would have been different. Id., at 688;

Hill v. Lockhart, 474 U.S. 52 (1985); Fields v. Attorney Gen. of Maryland, 956 F.2d 1290 (4th

Cir. 1992) (In order to obtain relief from a guilty plea on the basis of ineffective assistance

of counsel, a defendant must show both that counsel was incompetent and but for that

incompetence, he would not have pled guilty). If the defendant fails to make the first showing,

there is no need to consider the second. Strickland, supra.

       The language of the plea agreement; the record of the Rule 11 inquiry; the record of the

sentencing hearing; the fact that prior to this motion the Petitioner has failed to file a single

objection to counsel’s performance, but to the contrary, he has previously expressed his full

satisfaction with counsel; the fact that the Petitioner faced up to a statutory maximum of 110




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years imprisonment, of which the final sentence (reflected by the plea agreement and motion for

downward departure) of 120 months was a mere fraction, disproves the Petitioner’s accusations

against his attorney. Instead, these factors indicate a job well done by a dedicated, experienced

attorney who worked diligently and successfully on behalf of a now ungrateful client. Thus, the

Court concludes that counsel’s performance was not deficient and the second prong of Strickland

need not be reached. Petitioner’s motion is found by this Court to be void of merit and will be

summarily dismissed.



                                          III. ORDER

       IT IS, THEREFORE, ORDERED that the Petitioner’s motion to vacate, set aside, or

correction judgment is hereby DENIED. A Judgment dismissing the action is filed herewith.




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                         Signed: August 5, 2005




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